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JUDGE:

Mary Jo Heston

CHAPTER: 7

HEARING LOCATIONS: TACOMA
HEARING DATE: JULY 19, 2018
HEARING TIME: 9:00 A.M.
RESPONSE DATE: JULY 12, 2018

UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF WASHINGTON

1n re: )
)
Dolce Si, LLC, )
)
) Chapter 7
)
)
Debtor. ) F rom Stay
ln re: )
)
Elisabetta Rosalinda O’Shea, )
and Steven Patrick O’Shea, )
) Chapter 7
)
Debtor. )
) from Stay

PLEASE TAKE NOTICE that Movant Point Ruston Apartrnents, LLC’s Motion for Relief

from Stay seeking to lift the stay and to authorize the Movant to foreclose on its statutory landlord’S

lien under state law and procedures
IS SET FOR HEARING AS FOLLOWS:
JUDGE: Mary Jo Heston
PLACE: TACOMA

Bankruptcy Case No. 18-41191-1\/IJH

Notice of Motion and Hearing on Motion for Relief

Bankruptcy Case No. 18-41204-MJH

Notice of Motion and Hearing on Motion for Relief

Tacorna Federal Courthouse Union Station

1717 Paciiie Avenue, Ste. 2100
Tacoma, WA 98402-3233

DATE: JULY 19, 2018

NOTICE OF HEARING

1
CaSe 18-41191-|\/|.]H DOC 8 Filed 06/28/18

Law Offices of Jack B. Krona Jr.
5219 N. Shirley St. #100
Ruston, WA 98407

(253) 341-9331

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TIl\/IE: 9:00 a.ni.

IF YOU OPPOSE the Motion, you must file your written response With the Clerk’s office
of the bankruptcy court and deliver copies to the undersigned NOT LATER THAN THE
RESPONSE DATE, Which is July 12, 2018. If you file a response you are also required to appear
at the hearing.

IF NO RESPONSE IS TIMELY FILED AND SERVED, THE COURT MAY, IN ITS
DISCRETION, GRANT THE MOTION PRIOR TO THE HEARING WITHOUT FURTHER
NOTICE, AND STRIKE THE HEARING.

DATED this 28th day of June 2018.

LaW Offices of Jack B. Krona, Jr., Esq.

By: /s/
Jack B. Krona Jr., Esq.
WSBA# 42484

Attorney for Point Ruston Apartments, LLC

CERTIFICATE OF SERVICE

On this 28th day of June 2018, I hereby certify under penalty of perjury that I served the

above document on the parties listed in the attached Creditor’s Matrix as of June 28, 2018

LaW Offices of Jack B. Krona, Jr., Esq.

By /s/
Jack B. Krona Jr., Esq.

WSBA# 42484

NOTICE OF HEARING Law Offices of Jack B. Krona Jr.
5219 N. Shirley St. #100
Ruston, WA 98407
(253) 341- 9331

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Label Matrix for local noticing
0981-3

Case 18-41204-MJH

Western District of Washington
Tacoma

Thu Jun 28 13:25 59 PDT 2018

U.S. Bankruptcy Court
1717 Pacific Avenue
Suite 2100

Tacoma, WA 98402-3233

Bank of America
PO Box 851001
Dallas, TX 75285-1001

Muckleshoot Casino
6370 Auburn Way S.
Auburn, WA 98002

Point Ruston

c/o Rainier Property Services
5219 N. Shirley St.

Tacoma, WA 98407-6599

(p)WA STATE DEPT OF LABOR & INDUSTRIES
BANKRUPTC! UNIT

PO BOX 44171

OLYMPIA WA 98504-4171

United States Trustee
700 Stewart St Ste 5103
Seattle, WA 98101-4438

Elisabetta Rosalinda 0'Shea
3216 N. Stevens St.
Tacoma, WA 98407-4741

Santander Consumer USA Inc.

c/o Stewart, Zlimen & Jungers, Ltd.

2860 Patton Road
Roseville, MN 55113-1100

American Express
PO Box 981535
El Paso, TX 79998-1535

Dolce Si, LLC
3216 N. Stevens St.
Tacoma, WA 98407-4741

NASA Federal Credit Union
PO Box 1910
Bowie, MD 20717-1910

Point Ruston Apartments, LLC
5219 N. Shirley St.
Tacoma, wh 98407-6599

State of Washington

Employment Security Department
PO Box 9046

Olympia, WA 98507-9046

(p)VOLKSWAGEN CREDIT UNION
1401 FRANKLIN BLVD
LIBERTYVILLE IL 60048-4460

Mark D Waldron

6711 Regents Blvd W
Suite B

Tacoma, WA 98466-5421

VW CREDIT, INC.
14841 Dallas Parkway, Suite 300
Dallas, TX 75254-7883

American Express National Bank
c/o Becket and Lee LLP

PO Box 3001

Malvern PA 19355-0701

IRS
PO Box 7346
Philadelphia, PA 19101-7346

Navy Federal Credit Union
PO Box 3500
Merrifield, VA 22119-3500

Santander Consumer USA
PO Box 961245
Terrell, TX 75161

USAA Bank
9800 Fredericksburg Rd.
San Antonio, TX 78288-0002

Brett L Wittner

Morton McGoldrick, P.S.
820 A Street

Suite 600

Tacoma, WA 98402-5293

Steven Patrick 0'Shea
3216 N. Stevens St.
Tacoma, WA 98407-4741

The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(d).

State of Washington
Department of L&I
PO Box 44171
Olympia, WA 98504

CaS€ 18-41191-|\/|.]H

(d)State of Washington
Department of Revenue
PO Box 44171

01ympia, WA 98504

Volkswagen Credit
PO Box 3
Hillsboro, OR 97123-0003

DOC 8 Filed 06/28/18 Ent. 06/28/18 16219:06 Pg. 3 Of 5

End of Label Matrix

Mailable recipients 23
Bypassed recipients 0
Total 23

Case 18-41191-|\/|JH DOC 8 Filed 06/28/18 Ent. 06/28/18 16219:06 PQ. 4 Of 5

Label Matrix for local noticing
0981-3

Case 18-41191-MJH

Western District of Washington
Tacoma

Thu Jun 28 13:26:49 PDT 2018

Comcast
PO Box 34744
Seattle, WA 98124-1744

Kabbage, Inc.
9ZSB Peachtree St. NE #1688
Atlanta, GA 30309-3918

Point Ruston

c/o Rainier Property Services
5219 N. Shirley St.

Tacoma, WA 98407-6599

State of Washington
Employment Security Department
PO Box 9046

Olympia, WA 98507-9046

United States Trustee
700 Stewart St Ste 5103
Seattle, WA 98101-4438

Dolce Si, LLC
3216 N. Stevens St.
Tacoma, WA 98407-4741

Elavon
7300 Chapman Hwy
Knoxville, TN 37920-6612

Liberty Distributing
909 Valley Ave. NW
Puyallup, WA 98371-2517

Point Ruston Apartments, LLC
5219 N. Shirley St.
Tacoma, WA 98407-6599

Steve and Elisabetta 0'Shea
3216 N. Stevens St.
Tacoma, WA 98407-4741

Brett L Wittner

Morton McGoldrick, P.S.
820 A Street

Suite 600

Tacoma, WA 98402-5293

U.S. Bankruptcy Court
1717 Pacific Avenue
Suite 2100

Tacoma, WA 98402-3233

IRS
PO Box 7346
Philadelphia, PA 19101-7346

Navy Federal Credit Union
PO Box 3500
Merrifield, VA 22119-3500

(p)WA STATE DEPT OF LABOR & INDUSTRIES
BANKRUPTC¥ UNIT

PO BOX 44171

OL!MPIA WA 98504-4171

Tacoma Public Utilities
3628 S. 35th St.
Tacoma, WA 98409-3192

Mark D Waldron

6711 Regents Blvd W
Suite B

Tacoma, wA 98466-5421

The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(d).

State of washington
Department of L&I
PO Box 44171
Olympia, WA 98504

CaS€ 18-41191-|\/|.]H

(d)State of Washington
Department of Revenue
PO Box 44171

Olympia, WA 98504

End of Label Matrix

Mailable recipients 17
Bypassed recipients 0
Total 17

DOC 8 Filed 06/28/18 Ent. 06/28/18 16219:06 Pg. 5 Of 5

